|n the United States District Court l n , /'-“ir
For the Midd|e District of North Caro|ina § _ D§,/" 0 ,.

Greensboro Division

 

United States of America
Plaintiff(s) / Respondent

Criminal Action No.

v’ 1:13-cr-431-1

Brian David Hill

Defendant(§) / Petitioner Clvll Actlon N0.

1:17-cv-01036

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DEFENDANT'S/PETITIONER'S MOTION AND BRIEF TO FILE UNDER
SEAL A DECLARATION TO PROTECT PRIVACY AND COMPLY WITH
THE REDACTION REQUIREMENTS

On December 1, 2017, Defendant/Petitioner Brian David Hill ("Brian D. Hill" or
"Defendant Hill"), had filed with the Clerk a "FOURTHADDITIONAL EVIDENCE
DECLARA TION IN SUPPORT 0F DOCUMENT #128, #128-1, AND 128-2 “BRIEF/
MEMGRANDUM IN SUPPGRT OF BRLAN DA VID HILL ’S “M OT 10N UNDER 28 USC §
2255 T 0 VACA TE, SETASIDE, OR CORRECTSENTENCE BYA PERSONIN FEDERAL
CUSTUDY”” (DOCUMEMT #125) (NON-SEALED VERSION)", and a “FOURTH
ADDITIONAL EVIDENCE DECLARA TIONIN SUPPORT OF DOCUMENT #128, #128-1,
AND 128-2 “BRIEF/MEMORAND UM IN SUPPGRT OF BRMN DA VID HILL ’S
“MOTIUN UNDER 28 USC § 2255 T0 VACA TE, SETASIDE, OR CORRECT SENTENCE
BYA PERSUN IN FEDERAL CUSTODY”” (DOCUMEMT #125) (SEALED VERSIGN)”.

Pertinent to the Local Rules of Practice and Procedure of the United States District Court

for the Middle District of North Caro|inaa Rule 5.4, The Defendant/Petitioner Brian David

Hill ("Brian D. Hill" or "Defendant Hill"), representing himself, and hereby respectfully

move the Court for an order permitting Defendant Hill to file under seal the 2 Exhibits of

“FOURTHADDITIONAL EVIDENCE DECLARA TION IN SUPPORT OF DOCUMENT
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#128, #128-1, AND 128-2 “BRIEF/MEMORANDUM IN SUPPORT OF BRMN DA WD
HILL’S “MOTION UNDER 28 USC § 2255 TO VACA TE, SETASIDE, OR CURRECT
SENTENCE BYA PERSONIN FEDERAL CUSTOD Y”” (DUCUMEMT #125) (SEALED
VERSION)” and/or the Declaration itself as both versions (SEALED, and NON-SEALED)
of the Fourth Declaration essentially contain the same evidence Exhibits and basically
contain the same information. The difference is that the non-sealed version contains
redactions of personal home addresses and phone numbers of private citizens that are

witnesses to Brian D. Hill, in compliance with the redaction requirement.

However with redactions, the Court will not have the most important piece of evidence, and
that is the home addresses and phone numbers of all witnesses in the town of Mayodan,
City of Reidsville, and other towns/cities within Rockingham County that have signed the
Defendant Hill’s Nullify-NDAA Petition in earlier 2012 prior to the police raid. Some may
have witnessed the police raid on August 28, 2012. Those witnesses know that Defendant
Hill has/had never been around children, that he had never done anything illegal, and that
the neighbors of Hill’s address at the time had signed the petition and knew that Defendant
Hill is against secret torture and abduction of American citizens thus further showing the

factual innocence of Defendant Hill.

Under the U.S. Privacy Act, home addresses and other personally identifiable and sensitive
information in compliance with the Federal Rules must be redacted for the public record,
however Defendant must also file a copy without redactions to be sealed and the redacted

copy for the public record,

Defendant has filed both versions, one for the public record, and other requesting to be
sealed to protect the privacy of all Nullify-NDAA Petition signers and potential witnesses
pertinent to the Petition’s privacy policy, to protect people’s addresses and private phone

numbers under the U.S. Privacy Act.

Home addresses cannot be on public record without redaction, but the home addresses and
phone numbers are evidence that allow the Court and the Government to have the evidence

and list of witnesses that will testify in the event that the Government objections to

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Defendant Hill’s innocence claim that may require an evidentiary hearing, once the
Defendant/Petition is appointed a court appointed lawyer representing him for the matter
of the 2255 motion. Defendant/Petitioner was betrayed by Counsel Eric David Placke that
was refusing to have any witnesses to testify. Defendant Hill feels it is necessary to file a
sealed non-redacted copy of his Nullify-NDAA Petition, to force his next court appointed
lawyer to cross examine and notify the list of potential actual innocence witnesses. Placke
lied to multiple federal Judges over any potential witnesses that could have caused the
Judge or Jury to have found the Defendant not guilty of his charge. Defendant believes in
good faith that it is necessary to file the Nullify-NDAA petition with a sealed version and
non-sealed version to ensure that his next court appointed lawyer is effective Counsel, that
the potential witnesses can be contacted, subpoenaed, and to testify if any of that is even

necessary for an evidentiary hearing.

The Nullify-NDAA petition has good cause as to proving actual innocence, not just the
character of Defendant Hill never being into children and has worked voluntarily without
pay collecting Petition signatures against torture and abduction while child pornographers
are in favor of children being abducted, molested, and tortured. This proves that
Defendant Hill was politically involved prior to the child pornography allegations and the
Mayodan Police raid on Defendant’s former residence. It proves different factors of Hill’s
actual innocence, Hill does not trust (as much) Court appointed lawyers anymore, that is
why he wants to file this sealed version with the non-redacted evidence information so that
if the next Court Appointed lawyer refuses to present any witnesses again like Mr. Placke
then that Will be prima facie of ineffective Counsel (Strickland v. Washington) for his 2255

motion.

If the home addresses and phone numbers are not sealed for the SEALED version then it
puts all potential witnesses at risk of being targeted, at risk of witness tampering and
witness intimidation. According to the U.S. Privacy Act the home addresses and phone
numbers must either be sealed or protected from public disclosure for the best interests of
justice and for the best interests of the people that have privacy protections under

Federal/State laws.

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To prevent the documents with sensitive information such as home addresses, phone
numbers, and even signatures of each Petition signer, from being made part of the public
record, Defendant Hill respectfully request that the Court issue an ()RDER permitting him
to file under seal the exhibits containing the Nullify-NDAA petition without redactions and
possibly even the Declaration of the SEALED version as well if it contains any sensitive,

confidential, and/or personal information that cannot be made a matter of public record.

I recommend to the Habeas Court that “FOURTHADDITIONAL EVIDENCE

DECLARA TIONIN SUPPORT 0F DOCUMENT #128, #128-1, AND 128-2 “BRIEF/
MEMORANDUM IN SUPPURT OF BRMN DA VID HILL ’S “MOTION UNDER 28 USC §
2255 T 0 VACA TE, SETASIDE, OR CORRECT SENTENCE BYA PERSUN IN FEDERAL
CUSTUDY”” (DOCUMEMT #125) (SEALED VERSION)” and/or the Exhibits in
attachment to the SEALED version be sealed to protect the Privacy of those Petition
signers and potential witnesses of Defendant Hill, in accordance with the U.S. Privacy Act,

The Court needs to review the potential witnesses of that Nullify-NDAA Petition.

Respectfully submitted,

Signed on: / gr/A:)vp /17€1/, o
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310 Forest Street, Apartment 2
Martinsville, VA 24112
Phone #: (276) 790-3505

LES.W.G.O.

This MOTION respectfully filed with the Court, this the 5th day of December, 2017 .

 

Defendant also requests With the Court that a copv of this MOT|ON be served upon the
Government as stated in 28 U.S.C. §1915(d), that ”The officers of the court shall issue and
serve a||jrocess, and perform all duties in such cases. Witnesses shall attend as in other
cases, and the same remedies shall be available as are provided for bv lay in other cases.

P|aintiff requests that copies be served with the U.S. Attornev office of Greensboro, NC and

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AUSA Anand Prakash Ramaswamv via CM/ECF Notice of E|ectronic Fi|ing (”NEF") emai|, bv

facsimile if the Government consents, or upon U.S. Mai|. Thank You!

Defendant hereby certifies that on December 5, 2017, service was made by mailing
the original of the foregoing:
DEFENDANT'S/PETITIONER'S MOTION AND BRIEF TO FILE UNDER

SEAL A DECLARATION TO PROTECT PRIVACY AND COMPLY WITH
THE REDACTION REQUIREMENTS

by deposit in the United States Post Office, in an envelope, Postage prepaid under
certified mail tracking no. 7014-2120-0000-5320-6731, on December 5, 2017
addressed to the Clerk of the Court in the U.S. District Court, for the Middle
District of North Carolina, 324 West Market Street, Suite 1, Greensboro, NC 27401.
T hen pursuant to 28 U.S.C. §1915(d), Defendant requests that the Clerk of the
Court shall have considered mailing the Government’s COPY of lx Audio CD, then
electronically filed the foregoing using the CM/ECF system which will send
notification of such filing to the following parties to be served in this action:

U.S. Attorney Office

101 South Edgeworth Street, 4th Floor, Greensboro, NC 27401
Anand.Ramaswamy@usdoj.gov

This is pursuant to Defendant’s “In forma Pauperis” (“IFP”) status, 28 U.S.C. §1915(d)
that “The officers of the court shall issue and serve all process, and perform all duties in
such cases..."the Clerk shall serve process via CM/ECF to serve process with all parties.

 

Date of signing: Respectfully submitted,

Demn éd/ /§ ZV,//`7 linda i. HLZ/

5’//4€/ ' Signed
Brian D. Hill (Pro Se)

 

 

 

 

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Martinsville, VA 24112
Phone #: (276) 790-3505

 

 

 

 

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Civil Action No. l:l7-cv-Ol()36

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